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                                                                                     A-570-093
                                                                                       Remand
                                                                                Slip Op. 22-106
                                                                  POI: 01/01/2018 – 06/30/2018
                                                                 Business Proprietary Document
                                                                                 E&C/OI: TES
                                                                          PUBLIC VERSION
                                New American Keg v. United States,
                Court No. 20-00008, Slip Op. 22-106 (CIT September 13, 2022)
               Refillable Stainless Steel Kegs from the People’s Republic of China

                           FINAL RESULTS OF REDETERMINATION
                               PURSUANT TO COURT REMAND

I.      SUMMARY

        The U.S. Department of Commerce (Commerce) prepared these final results of

redetermination pursuant to the remand opinion of the U.S. Court of International Trade (the

Court) in New American Keg v. United States, Court No. 20-00008, Slip Op. 22-106 (CIT

September 13, 2022) (Remand Opinion). These final results of redetermination concern

Refillable Stainless Steel Kegs from the People’s Republic of China: Final Affirmative

Determination of Sales at Less Than Fair Value and Final Affirmative Determination of Critical

Circumstances, in Part, 84 FR 57010 (October 24, 2019) (Final Determination), and

accompanying Issues and Decision Memorandum (IDM), and the Final Results of

Redetermination Pursuant to Court Remand, New American Keg v. United States, Court No. 20-

00008, Slip Op. 21-30 (CIT March 23, 2021), dated July 7, 2021 (First Redetermination).1

        In the Remand Opinion, the Court remanded the First Redetermination to Commerce to:

(1) explain why it was appropriate to inflate a Mexican labor wage rate using Brazilian data and

why doing so was superior to using a Brazilian labor wage rate to value the labor factors of

production (FOP) of mandatory respondent Ningbo Master International Trade Co., Ltd. (Ningbo


1
 The First Redetermination is available on Commerce’s website at https://access.trade.gov/resources/remands/21-
30.pdf.
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Master);2 and (2) identify the evidence in the administrative record that supports granting

Guangzhou Ulix Industrial & Trading Co., Ltd. (Guangzhou Ulix) a separate rate.3

II.     BACKGROUND

        In the Final Determination, Commerce used Malaysian surrogate data to value Ningbo

Master’s labor FOPs and determined that Guangzhou Ulix was eligible for a separate rate.4 In

the First Redetermination, Commerce determined that “Malaysian data does not constitute the

best available information for valuing Ningbo Master’s labor FOPs because it is linked to forced

labor.”5 Commerce further determined that “based on the information on the record, {it}

selected the Mexican labor {surrogate value (SV)} from {Conference Board’s International

Labor Comparisons (ILC)} as the best information available to value Ningbo Master’s labor

FOPs” and “inflated the Mexican labor SV from ILC to the {period of investigation (POI) using

Brazilian inflator} and recalculated Ningbo Master’s margin.”6 Commerce also continued to

determine that Guangzhou Ulix was eligible for a separate rate.7 However, after filing the First

Redetermination, Commerce requested a voluntary remand to explain whether and why the

Brazilian inflator used on the Mexican labor wage rate was appropriate.8 This Court’s Remand

Opinion accordingly ordered Commerce to explain its decision to use a Brazilian labor wage

inflator for Mexican labor wage data.9




2
  See Remand Opinion at 9.
3
  Id.
4
  See Final Determination IDM at Comments 1 and 11.
5
  See First Redetermination at 17.
6
  Id. at 19.
7
  Id. at 22-23.
8
  See Memorandum, “Refillable Stainless Steel Kegs from the People’s Republic of China: Final Remand Results
Calculation Memorandum for Ningbo Master International Trade Co., Ltd.,” dated July 7, 2021 (Final
Redetermination Calculation Memorandum), at Attachment B (Surrogate Value Spreadsheet at “Labor” tab); see
also Remand Opinion at 5-6.
9
  See Remand Opinion at 9.

                                                      2
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        On October 6, 2022, we released the Draft Results to interested parties for comment.10

On October 13, 2022, we received comments from the American Keg Company LLC (the

petitioner).11

III.    ANALYSIS

Labor Surrogate

        In the Remand Opinion, the Court remanded the First Redetermination to explain why it

was appropriate to inflate a Mexican labor wage rate using Brazilian data and why doing so was

superior to using a Brazilian labor wage rate.12 The Mexican labor wage rate we used in the

First Redetermination was from ILC.13 After reexamining the issue, we acknowledge that it was

improper to inflate the Mexican labor wage rate from the ILC using Brazilian consumer price

index (CPI) data.

        Notwithstanding, because Mexico has producers of identical merchandise, we continue to

determine that Mexican labor wage data is superior to Brazilian labor wage data. Therefore, in

order to make an accurate calculation, we re-opened the record and placed data on the record.

Considering our stated preference of basing labor cost on International Labour Organization

(ILO) data,14 we placed data from the ILO on the record.15 Consistent with our stated policy,16



10
   See Draft Results of Remand Redetermination, New American Keg v. United States, Consolidated Court No. 20-
00008, Slip Op. 22-106 (CIT September 13, 2022), dated October 6, 2022 (Draft Results).
11
   See Petitioner’s Letter, “Refillable Stainless Steel Kegs from the People’s Republic of China: Comments on Draft
Results of Redetermination Pursuant to Court Remand,” dated October 13, 2022 (Petitioner’s Comments).
12
   See Remand Opinion at 9.
13
   See Final Redetermination Calculation Memorandum at 2 (citing Petitioner’s Letter, “Petitions for the Imposition
of Antidumping Duties on Imports of Refillable Stainless Steel Kegs from Germany, Mexico, and the People’s
Republic Of China and Countervailing Duties on Imports of Refillable Stainless Steel Kegs from the People’s
Republic Of China,” dated September 20, 2018 (Petition), at Volume II (Exhibit PRC-AD-11)).
14
   See Antidumping Methodologies in Proceedings Involving Non-Market Economies: Valuing the Factor of
Production: Labor, 76 FR 36092 (June 21, 2011) (Labor Methodologies).
15
   See Memorandum, “Refillable Stainless Steel Kegs from the People’s Republic of China: Draft Remand (Slip Op.
22-106) Results Calculation Memorandum for Ningbo Master International Trade Co., Ltd.,” dated October 6, 2022
(Draft Results Calculation Memorandum), at Surrogate Value Spreadsheet (“ILO Wage Data” tab).
16
   See Labor Methodologies.

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and because Mexico has producers of identical merchandise, we used the Mexican wage rate

from the ILO data for 2018, instead of ILC data, and recalculated Ningbo Master’s margin

accordingly.17 Because the ILO data we used for these final results of redetermination are

contemporaneous with the POI, it was not necessary to inflate the wage rate.

Guangzhou Ulix Separate Rate

        In the Remand Opinion, the Court remanded the First Redetermination for Commerce to

identify the evidence in the administrative record that supports granting Guangzhou Ulix a

separate rate.18 In its decision, the Court stated that the statements Commerce cited in the First

Redetermination “refer to past actions by individuals, not present affiliations, and they don’t

even deny an affiliation between {Guangzhou Ulix} and {[IIII III]},” that “{w}ithout even a

bare denial, there is no evidence on the record from which Commerce could conclude that the

companies were not affiliated,” and held that, “{b}ecause {Commerce} found that the U.S.

customer and {[IIII III]} are affiliated, there needs to be affirmative evidence on the record that

the latter is unaffiliated with {Guangzhou Ulix}.”19 We explain below the affirmative evidence

on the record that [IIII III] is unaffiliated with Guangzhou Ulix.

        In the separate rate application, we asked respondents to “{e}xplain whether your firm

made shipments or sales to unaffiliated parties, affiliated parties or both, during the

{POI}/review, as defined by Section 771(33) of {the Tariff Act of 1930, as amended (the Act)}.”

In response, Guangzhou Ulix checked the box indicating that it made “shipments or sales to

unaffiliated parties only.”20 We also asked respondents: “As defined by Section 771(33) of the




17
   See Draft Results Calculation Memorandum.
18
   See Remand Opinion at 9.
19
   Id. at 8-9.
20
   See Guangzhou Ulix’s Letter, “Refillable Stainless Steel Kegs from China: Separate Rate Application,” dated
November 21, 2018 (Guangzhou Ulix SRA), at 16-17.

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Tariff Act of 1930, as amended, does the applicant have any affiliates that are located in the

United States, or that exported merchandise to the United States which would fall under the

description of merchandise covered by the scope of the Proceeding?” In response, Guangzhou

Ulix checked the box indicating “No.”21 We further instructed the respondents that “it would be

useful if you would provide a chart demonstrating the ownership and affiliation structure of all of

your affiliates that are involved in the production or sale of subject merchandise.” In response,

Guangzhou Ulix reported that it “is not affiliated with any other exporters of subject

merchandise” and that it “has [xxxx xxx xxxxxxx xxxxxxx xx Ixxxxxxx xxxxx Ixxxxxxx

Ixxxxxx Ixxxxxxx Ixxxxxxxxxxxx Ixxxxxxxxx Ix., Ixx., xxx xxxxxxx xx xxxxxxxxxx xx

xxxxxx xxxxxxx xxx xx xxx xxxxxxxx xx xxx xxxxxxxxxx xx xxxx xx xxxxxxx

xxxxxxxxxxx].”22 Furthermore, we examined the list of shareholders of Guangzhou Ulix, [Ixx

Ixxxxxxx, Ix Ixxxxxxx, Ixxxx Ixxx, xxx Ixxxx Ixxxx].23 Not only is there no evidence on the

record showing a link between any of these individuals and [Ix. Ixxx, xxx xxxxx xx Ixxxxxxx

Ixxx III xx Ixxx III], as required to find an affiliation or evidence of control in accordance with

section 771(33) of the Act, the petitioner did not allege to any such link.

        As Commerce stated previously, Guangzhou Ulix reported in its rebuttal factual

information submission that “[Ixxxxxx IxxxIx xxxxxxxxxxxxx xx IIII III xx xxx Ixxxxx Ixxxxx

xxx xxxx xx Ix. IxxxIx xxx xxxxxxxx xxxxxxxxxx xxx xx xxx xxx xxxxxxxx xxxxxxxx],” and

“[IIxxxxxxxx IxxxI xxx xx xxxxx xxxxxxxxx xx Ix. IxxxIx xxxxxxx].”24 However, the Court

held that these statements do not constitute a denial of affiliation between Guangzhou Ulix and



21
   Id. at 17.
22
   Id.
23
   Id. at Exhibit 9.
24
   See Final Redetermination at 11 (citing Guangzhou Ulix’s Letter, “Refillable Stainless Steel Kegs from the
People’s Republic of China – ULIX Rebuttal Comments,” dated March 28, 2019 (Guangzhou Ulix Rebuttal
Comments), at 2).

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[IIII III] and are insufficient evidence for concluding that the two companies are not affiliated.25

Thus, on remand, Commerce points to the statements made above and additional statements

Guangzhou Ulix made in its rebuttal factual information submission. Specifically, Guangzhou

Ulix reported that it “conferred with [Ixxxxxx Ixxx Ixxx xxxxx xx Ixxxxxxx Ixxx III, Ixxxxxxxx

IxxxIx I.I. xxxxxxxxI, xxx xxxxxxxx xxxx xx xx xxx xxxxxxxxxxx xx IIII III],” and “it can be

concluded that there is no affiliated relationship between [IIII III] and Guangzhou ULIX

Industrial & Trading Co., Ltd.”26

        Thus, Guangzhou Ulix affirmatively stated that it has no affiliates in the United States

and that its [xxxx xxxxxxxxx xxxxxx xxx III xxx x xxxxxxx xx Ixxxxxxx].27 In its rebuttal

comments, Guangzhou Ulix claimed that there is no affiliation between itself and [IIII III].28 We

further observe that Guangzhou Ulix’s rebuttal comments were submitted on Guangzhou Ulix’s

own initiative and were not in response to our requests for information. Moreover, although the

petitioner alleged affiliation between Guangzhou Ulix and its unaffiliated customer and the

petitioner’s information revealed that [Ixxxxxxx Ixx, Ixxx Ix, xxx IIII III] were potentially

affiliated, the petitioner’s information did not demonstrate that Guangzhou Ulix was affiliated

with [Ixxxxxxx Ixx, Ixxx Ix, xx IIII III].29 Given that: (a) Guangzhou Ulix had already affirmed

in its separate rate application that it [xxxx xxx xxx xxxxxxxxx xxxxxx xxx III] and that it was

not affiliated with any U.S. companies; and (b) there was no information on the record that

contradicted what Guangzhou Ulix reported in its separate rate application regarding its




25
   See Remand Opinion at 8-9.
26
   See Guangzhou Ulix Rebuttal Comments at 2.
27
   See Guangzhou Ulix SRA at 16-17.
28
   See Guangzhou Ulix Rebuttal Comments at 2.
29
   See Petitioner’s Letter, “Refillable Stainless Steel Kegs from the People’s Republic of China: Comments on
Guangzhou Ulix Industrial & Trading Co., Ltd.’s March 14, 2019, 3rd Supplemental Separate Rate Application
Questionnaire Response,” dated March 25, 2019, at Exhibits 1 through 22.

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affiliation or lack thereof with other entities, we determined that it was not necessary to solicit

further information from Guangzhou Ulix during the course of the investigation.

          In summary, we conclude that Guangzhou Ulix has met its burden for separate rate status.

As instructed in the remand opinion, we have identified the evidence on the record that supports

granting Guangzhou Ulix a separate rate. Guangzhou Ulix reported from its initial filing that it

was not affiliated with the U.S. customer or any other companies located in the United States and

there is no information on the record indicating that Guangzhou Ulix is affiliated with [Ix. Ixxx,

Ixxxxxxx Ixxx III, IIII III] or any company other than [Ixxxxxxx Ixxxxxx Ixxxxxxx

Ixxxxxxxxxxxx Ixxxxxxxxx Ix., Ixx.], by virtue of any of the criteria enumerated in the Act

(e.g., ownership, family members, officers, or directors). Moreover, Guangzhou Ulix has

otherwise fulfilled the requirements to gain separate rate status.30 As a result, we continue to

find that Guangzhou Ulix is eligible for a separate rate.

IV.       INTERESTED PARTY COMMENTS

Comment 1: Selection of Labor SV

Petitioner’s Comments

         Commerce should rely on Brazilian labor wage data in the final results of
          redetermination.31
          o The Draft Results contradict established agency practice.32
              Commerce’s position that Brazilian wage data denominated in U.S. dollars
                 requires a U.S. dollar CPI contains no citation to practice and, in fact, contradicts
                 the agency’s established methodology of applying a CPI for the source country to
                 the relevant dataset even if denominated in U.S. dollars.33

30
   See Refillable Stainless Steel Kegs from the People’s Republic of China: Preliminary Affirmative Determination
of Sales at Less Than Fair Value, Preliminary Affirmative Determination of Critical Circumstances, in Part,
Postponement of Final Determination, and Extension of Provisional Measures, 84 FR 25745 (June 4, 2019), and
accompanying Preliminary Decision Memorandum, at 14-15; and First Redetermination at 9-12 and 22-23.
31
   See Petitioner’s Comments at 2-12.
32
   Id. at 3-8.
33
   Id. at 5-8 (citing, e.g., Glycine from the People’s Republic of China: Preliminary Results of Antidumping
Duty Administrative Review and Partial Rescission of Antidumping Duty Administrative Review, 77 FR 21738,
21742-43 (April 11, 2012); Glycine from the People’s Republic of China: Final Results of Antidumping Duty


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               Commerce has explained that it “revised its practice with respect to applicable
                inflator indices” in 2005 when it found that,

                “although surrogate values quoted in U.S. dollars have been inflated using
                the U.S. PPI in past cases, in recent cases we have reviewed our inflation
                methodology and find that U.S. dollar-denominated surrogate values
                should be inflated based on the country in which the expense was
                incurred, not the currency in which it was reported’” because the “‘use of
                the U.S. PPI to inflate a dollar-denominated rate reflects the economic
                situation in the United States and not that in . . .” the home country, or the
                surrogate country, in this case.34

        o Commerce correctly determined that it is improper to inflate Mexican data with a
          Brazilian index.35
        o Commerce should value labor inputs with Brazilian wage and CPI data already on the
          record.36

Commerce’s Position:

        We have continued to use the Mexican ILO data for these final results of redetermination.

Although we acknowledge that we mischaracterized the applicability of using Brazilian CPI data

for inflating a Brazilian surrogate denominated in U.S. dollars in one of our statements, the fact

remains that Mexico is superior to Brazil as a surrogate for the factors of production of the

subject merchandise. As described in the First Redetermination, refillable stainless steel kegs

were actually produced in Mexico during the POI whereas there is no evidence that they were

manufactured in Brazil during the POI.37

        Although the petitioner argues that Commerce must use the Brazil ILC data because the

only inflator on the record is the Brazil CPI, Commerce applies a hierarchy in selecting the most



Administrative Review, 77 FR 64100 (October 18, 2012), and accompanying IDM, at Comment 8.; Certain Frozen
Warmwater Shrimp from the Socialist Republic of Vietnam: Final Results of Antidumping Duty Administrative
Review, 2012-2013, 79 FR 57047 (September 24, 2014) (Shrimp from Vietnam), and accompanying IDM, at
Comment 4; and Certain Frozen Warmwater Shrimp from the Socialist Republic of Vietnam: Final Results of
Antidumping Duty Administrative Review, 2013-2014, 80 FR 55328 (September 15, 2015), and accompanying IDM,
at Comment 4.
34
   Id. at 6 (citing Shrimp from Vietnam IDM at Comment 4).
35
   Id. at 8-9.
36
   Id. at 9-12.
37
   See First Redetermination at 19.

                                                    8
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appropriate labor values, does not typically consider the inflator determinative of which data to

select, and may place inflators on the record during an administrative proceeding when

necessary.38 Ordinarily, Commerce determines how to inflate the data (if necessary) after the

data has been selected.39 Moreover, because we have a mandate to calculate margins as

accurately as possible,40 we conclude it is appropriate to place data on the record in order to

inflate the Mexican surrogate. Had it not been for our stated preference for ILO data, the

appropriate course of action would have been to place Mexican CPI data on the record and use it

to inflate the Mexican ILC rate as the SV for labor. However, because, as described above, we

do have a preference for ILO data over other sources, we have continued to use the ILO data for

Mexico that we placed on the record, which has the additional benefit of being contemporaneous

with the POI. Accordingly, we did not change our calculation of the antidumping duty margin

for Ningbo Master for these final results of redetermination.

Comment 2: Whether Guangzhou Ulix Is Eligible for a Separate Rate

Petitioner’s Comments

        Guangzhou Ulix has not established its eligibility for a separate rate.41
         o Guangzhou Ulix’s separate rate application does not establish eligibility for a separate
            rate.42
             Guangzhou Ulix’s description of its own price negotiations with its U.S.
                customer, [Ixxxxxxx Ixxx III], proved unreliable from the start, which led to
                multiple supplemental inquiries from Commerce and a request for confirmation
                from the customer as to which version of events was correct.43
             In response to Guangzhou Ulix’s claim that [Ixxxxxxx Ixxx III xxx xxx
                xxxxxxxxxx xxxx Ixxxxxxxx Ixxx], the petitioner submitted evidence that: (1)
                [Ixxxxxxx Ixxx III] was affiliated with [Ixxx III]; and (2) both [Ixxxxxxx Ixxx III
                xxx Ixxx III] may be affiliated with [Ixxx Ix, Ixx., xxxxx xxx Ixxxxxxxx IxxxIx
                xxxxxx-xxxxxxx I.I. xxxxxxxx xxxxx Ixxxxxxx Ixxx III].44
38
   See Labor Methodologies, 76 FR at 36094.
39
   Id.
40
   See An Giang Fisheries Imp. & Exp. Joint Stock Co. v. United States, 317 F. Supp. 3d 1304, 1310 (CIT 2018).
41
   See Petitioner’s Comments at 12-17.
42
   Id. at 13-14.
43
   Id.
44
   Id. at 14.

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              Taken as a whole, this evidence and the shifting narrative from Guangzhou Ulix
               called into question the accuracy of Guangzhou Ulix’s claims that it was
               unaffiliated with its U.S. customer (or any affiliates of its U.S. customer).45
            Consequently, Guangzhou Ulix’s original statements, on their own, do not
               constitute substantial evidence that Guangzhou Ulix is unaffiliated with its U.S.
               customer.46
         o Guangzhou Ulix’s March 28, 2019, rebuttal evidence does not establish eligibility for
           a separate rate.47
            The claim by Guangzhou Ulix that “it can be concluded that there is no affiliated
               relationship between [IIII III] and Guangzhou ULIX Industrial & Trading Co.,
               Ltd.” reflects a legal conclusion that Guangzhou Ulix was not entitled to make –
               particularly in light of the Court’s subsequent holding that the other two factual
               assertions preceding that conclusion do not constitute affirmative evidence that
               [IIII III] is unaffiliated with Guangzhou Ulix.48
            There are no direct statements from [Ix. Ixxx] addressing [Ixxx III xx Ixxx Ix,
               Ixx.]; there is only a summary by Guangzhou Ulix of an otherwise undocumented
               conversation with [Ix. Ixxx], which, as the Court observed, does not “even deny
               an affiliation between {Guangzhou Ulix} and {[IIII III]}.”49
            As a result, there is no affirmative evidence demonstrating that Guangzhou Ulix is
               unaffiliated with [IIII III] (and, by extension, [Ixxxxxxx Ixxx III].50
         o The petitioner does not bear the burden of establishing affiliation.51
            The petitioner submitted evidence that Guangzhou Ulix’s claims regarding
               independent price negotiation were likely inaccurate and, as such, required further
               documentation and investigation.52
            That evidence, which has since been corroborated in part by Guangzhou Ulix,
               demonstrated that the U.S. customer had an affiliate [xxxx xxxxxx xxx xxxxx
               xxxx xxxx xx Ixxxxxxxx Ixxx], and that [xxx xxxxx xx xxx I.I. xxxxxxxx xxx x
               xxxxxx xxxxxxxx xxxxxxxxxx xx x xxxxx xxxxxxx xxxx xxxx xxx x
               xxxxxxxxxxx xxxxxxxxxx xxxxxxxxxxxx xxxx Ixxxxxxxx Ixxx].53
            While this information on its own may not amount to substantial evidence that an
               affiliation existed between any of these companies and Guangzhou Ulix,
               Guangzhou Ulix had the burden of proving otherwise once this evidence was
               presented.54 Guangzhou Ulix failed to do so and instead responded to Petitioner’s
               evidence with a series of hearsay statements that have already been rejected, in
               part, by the Court.55


45
   Id.
46
   Id.
47
   Id. at 14-16.
48
   Id. at 15.
49
   Id. at 15-16.
50
   Id. at 16.
51
   Id. at 16-17.
52
   Id. at 16.
53
   Id. at 16-17.
54
   Id. at 17.
55
   Id.

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Commerce’s Position:

        We continue to find that Guangzhou Ulix is eligible for a separate rate. As explained

above, Guangzhou Ulix affirmatively reported that: (a) it did not have any affiliates that were

located in the United States; and (b) it has [xxxx xxx xxxxxxxxxx xxxxxxx xxxxxxx xx

Ixxxxxxx, Ixxxx].

        Contrary to the petitioner’s allegations, Guangzhou Ulix’s description of its price

negotiations with its U.S. customer was not shown to be unreliable nor was there a “shifting

narrative” from Guangzhou Ulix. Guangzhou Ulix reported from the very beginning that its U.S.

customer was [Ixxxxxxx Ixxx III] and provided price negotiation documentation pursuant to

Commerce’s separate rate application.56 While it is true that we issued three supplemental

questionnaires, these were requests for clarification and additional documentation and not

because of any inconsistencies in Guangzhou Ulix’s responses. Specifically, in our first

supplemental questionnaire, we asked for clarification as to who an individual named in the

emails was and regarding the timing of the sale.57 Guangzhou Ulix explained that the person is

the manager for ULIX’s unaffiliated U.S. customer [Ixxxxxxx Ixxx III] and that, although the

“terms of sale were preliminarily negotiated in [Ixxxxxxx IIII],” “the final transaction for

quantity and value were subject to the commercial invoice, which was issued on [Ixxxxxx I,

IIII].”58 We were (and are) satisfied with Guangzhou Ulix’s answers, and there is no evidence

on the record contesting their probity.




56
   See Guangzhou Ulix SRA at 4 and Exhibit 10.
57
   See Commerce’s Letter, “Antidumping Duty Investigation on Refillable Stainless Steel Kegs from the People’s
Republic of China: Separate Rate Application Questionnaire,” dated December 12, 2018, at 1-2.
58
   See Guangzhou Ulix’s Letter, “Refillable Stainless Steel Kegs from China: Supplemental Separate Rate
Application Questionnaire Response,” dated December 18, 2018, at 1-2 and 3-4.

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        In our second supplemental questionnaire, we requested that, to the extent that the price

negotiation emails provided by Guangzhou Ulix in the Guangzhou Ulix SRA were incomplete,

that Guangzhou Ulix provide all emails associated with the price negotiations for the sale.59

Guangzhou Ulix explained that, regarding the sale, “the customer had communicated with [Ixx

Ixxxxxxx] by telephone on the product specifications, quantity, and price of the order,” that it

“confirmed the price and quantity by sending the {proforma invoice}, which can be regarded as

an order confirmation,” and that it “submitted all written documentation of the communications

between ULIX and its customer in Exhibit 10 of the Initial SRA.”60 We were (and are) satisfied

with Guangzhou Ulix’s answers and there is no evidence on the record contesting their probity.

        Finally, in our third (and final) supplemental questionnaire, we requested that Guangzhou

Ulix provide an affidavit from its U.S. customer as requested in the separate rate application.61

In response, Guangzhou Ulix provided the affidavit as requested.62 We were (and are) satisfied

with the affidavit provided by Guangzhou Ulix.

        Thus, contrary to the petitioner’s characterizations, there was no shifting narrative nor is

there any record evidence suggesting that Guangzhou Ulix’s responses were anything but

responsive to our requests for information. While the petitioner did place information on the

record suggesting that [Ixxxxxxx Ixxx, Ixxx III, xxx Ixxx Ix, Ixx.] are likely affiliated with each

other, as described in the First Redetermination, there is not a scintilla of evidence on the record

suggesting that any of these companies or [Ix. Ixxx] are affiliated with Guangzhou Ulix based on



59
   See Commerce’s Letter, “Antidumping Duty Investigation on Refillable Stainless Steel Kegs from the People’s
Republic of China: Separate Rate Application Second Supplemental Questionnaire,” dated February 7, 2019, at 2.
60
   See Guangzhou Ulix’s Letter, “Refillable Stainless Steel Kegs from China: 2nd Supplemental Separate Rate
Application Questionnaire Response,” dated February 21, 2019, at 6.
61
   See Commerce’s Letter, “Antidumping Duty Investigation on Refillable Stainless Steel Kegs from the People’s
Republic of China: Separate Rate Application Third Supplemental Questionnaire,” dated March 7, 2019, at 1.
62
   See Guangzhou Ulix’s Letter, “Refillable Stainless Steel Kegs from China: Third Supplemental Separate Rate
Application Questionnaire Response,” dated March 14, 2019, at 2 and Exhibit S3-1.

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any of the statutory criteria defining “affiliated persons” in section 771(33) of the Act (e.g.,

ownership of shares or stock, familial ties, common board members, officers, or management).63

        We agree with the petitioner that petitioners do not bear the burden of establishing

affiliation and that Guangzhou Ulix bore the burden of proving that it is entitled to a separate

rate. However, the petitioner contends that it “provided, in its role as an interested party to the

proceeding, … evidence that Guangzhou Ulix’s claims regarding independent price negotiation

were likely inaccurate and, as such, required further documentation and investigation.”64 We

disagree. As explained above and in the First Redetermination, none of the evidence the

petitioner placed on the record suggested that Guangzhou Ulix’s responses were “likely

inaccurate.” Indeed, we did not send a fourth supplemental questionnaire to Guangzhou Ulix

precisely because none of the information the petitioner placed on the record suggested that

Guangzhou Ulix was in a position to control [Ix. Ixxx, Ixxxxxxx Ixxx, Ixxx III, xxx Ixxx Ix,

Ixx.], nor did it suggest that any of these entities were in a position to control Guangzhou Ulix.

        Although we did not issue a fourth supplemental questionnaire, Guangzhou Ulix

provided additional information in its Guangzhou Ulix Rebuttal Comments. While the petitioner

asserts the statements in the Guangzhou Ulix Rebuttal Comments do not constitute an

affirmative demonstration that Guangzhou Ulix is unaffiliated with [Ixxx III],65 they do provide

additional evidence supporting Guangzhou Ulix’s original response that it was not affiliated with

any U.S. company. Moreover, although the way Guangzhou Ulix characterized its lack of

affiliation with [Ixxx III]66 may not be artfully worded, it does not indicate that Guangzhou Ulix

actually is affiliated with [Ixxx III], especially in light of its original response that: (a) it was not


63
   See First Redetermination at 9-12 and 22-23.
64
   See Petitioner’s Comments at 16.
65
   Id. at 15.
66
   See Guangzhou Ulix Rebuttal Comments at 2 (“it can be concluded that there is no affiliated relationship…”).

                                                        13
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affiliated with any U.S. company; and (b) it had only one affiliate which was located in

[Ixxxxxx, Ixxxx].

        Although the petitioner claims that the affirmative evidence that Commerce identified

cannot be affirmative evidence and is hearsay, Guangzhou Ulix’s submissions were accompanied

by a certification as to their accuracy and there is no evidence that would call into question the

accuracy of its submissions. We do not find it reasonable in this instance to require a party to

further demonstrate that it is not affiliated with a party with which it is not affiliated, as there

would be no existing documentation to prove this lack of affiliation. Thus, the affirmative

evidence identified by Commerce is sufficient to demonstrate non-affiliation.

        Finally, while it is true that Guangzhou Ulix bore the burden of proving that it is entitled

to a separate rate, for the reasons stated in the Final Determination, the First Redetermination,

and above, we conclude that Guangzhou Ulix met that burden. In this investigation, Guangzhou

Ulix provided complete responses to all our requests for information. Because we conclude that

Guangzhou Ulix met its burden of demonstrating that it is eligible for a separate rate, we have

continued to grant a separate rate to Guangzhou Ulix.

V.      FINAL RESULTS OF REDETERMINATION
        In accordance with the Court’s Remand Opinion, Commerce has, as discussed above,

revised certain aspects of its dumping analysis. Based on these changes, Commerce determines

that the following weighted-average dumping margins exist for the POI:




                                                   14
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                                                          Estimated               Cash Deposit
                                                       Weighted-Average         Rate (Adjusted for
         Exporter                   Producer
                                                       Dumping Margin            Subsidy Offsets)
                                                           (percent)                (percent)
 Ningbo Master              Ningbo Major Draft
 International Trade        Beer Equipment Co.,                0.00*                    0.00*
 Co., Ltd.                  Ltd.
 Guangzhou Jingye           Guangzhou Jingye
                                                               0.00*                    0.00*
 Machinery Co., Ltd.        Machinery Co., Ltd.
 Guangzhou Ulix
                            Guangzhou Jingye
 Industrial & Trading                                          0.00*                    0.00*
                            Machinery Co., Ltd.
 Co., Ltd.
*(de minimis)

         Should the Court affirm these final results of redetermination, the cash deposit rates will

have not changed from those we calculated in the Final Determination.

                            11/10/2022



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  Signed by: RYAN MAJERUS

Ryan Majerus
Deputy Assistant Secretary
 for Policy and Negotiations




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